Case 3:23-cv-00313-MMD-CSD Document 18 Filed 06/21/24 Page 1 of 3




                                            ORDER GRANTING
Case 3:23-cv-00313-MMD-CSD Document 18 Filed 06/21/24 Page 2 of 3




                                                20th    June


                                      /s/Andrew C. Nelson




                                         21st          June



                               CHIEF U.S. DISTRICT JUDGE
          Case 3:23-cv-00313-MMD-CSD Document 18 Filed 06/21/24 Page 3 of 3


1                                 CERTIFICATE OF SERVICE
2          I certify that I am an employee of the State of Nevada, Office of the Attorney General,
3    and that on June 20, 2024, I electronically filed the foregoing, STIPULATION AND
4    ORDER FOR DISMISSAL WITH PREJUDICE, via this Court’s electronic filing system.
5    Parties who are registered with this Court’s electronic filing system will be served
6    electronically.
7          Alex Jerome Welsh, #1198863
           Ely State Prison
8          P. O. Box 1989
           Ely, NV 89301
9

10
                                            An employee of the
11                                          Office of the Nevada Attorney General
12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28



                                             Page 3 of 3
